    Case 1:20-cv-03010-APM Document 177 Filed 08/17/21 Page 1 of 12




                    UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA, et al.,
                                       CASE No.: 1:20-cv-03010-APM
                       Plaintiffs,
                                       HON. AMIT P. MEHTA
           v.

GOOGLE LLC,

                       Defendant.




STATE OF COLORADO, et al.,

                       Plaintiffs,     CASE No.: 1:20-cv-03715-APM

           v.                          HON. AMIT P. MEHTA

GOOGLE LLC,

                       Defendant.

            NON-PARTY APPLE INC.’S POSITION STATEMENT
               CONCERNING THIRD PARTY DISCOVERY
        Case 1:20-cv-03010-APM Document 177 Filed 08/17/21 Page 2 of 12




       Apple Inc. (“Apple”) submits this statement pursuant to the Court’s August 13, 2021

order. Apple has been negotiating in good faith with the Department of Justice (“DOJ”), with

only a handful of issues remaining, and has already reached agreement with the Plaintiff States

on the scope of custodial productions for the separate requests in their subpoena. Apple remains

willing to continue negotiating with DOJ to promptly resolve the limited outstanding issues.

       It is unclear why DOJ has decided to abruptly end the parties’ discussions and raise an

“emergency” dispute to the Court. After Apple and plaintiffs reached agreement on custodians

in late April, Apple proposed more than 60 search strings to complete its production. The total

number of search strings has since increased to 66, and to date Apple and plaintiffs have reached

agreement on 54 of those strings. On August 9, Apple proposed that the parties engage in meet

and confers (that would have concluded by August 18) to promptly reach agreement on the 12

outstanding search strings. In the meantime, Apple would continue (and is continuing) to review

and produce documents responsive to the 54 agreed search strings.

       DOJ rejected Apple’s proposal without explanation, and instead demanded that Apple

agree to the DOJ’s proposed searches for all outstanding search strings. DOJ’s demands are not

based in substance, and instead are merely in furtherance of its unreasonable and arbitrary

objective of having Apple—a third party—review millions of documents. DOJ’s conduct in

manufacturing an impasse, refusing to consider counterproposals or even hear Apple’s concerns

regarding the outstanding search strings, is inconsistent with both DOJ’s prior representations to

Apple and the “cooperative and . . . reasonably iterative process” required by the Court, see

Stipulation and Order Regarding Discovery Procedure (Dkt. 99), at § III.7, and needlessly

burdens the Court with issues that should be resolved by the parties.

       DOJ’s purported concerns about Apple’s pace of production are misplaced. In June,



                                                1
         Case 1:20-cv-03010-APM Document 177 Filed 08/17/21 Page 3 of 12




Apple informed DOJ that it could substantially complete review and production for a volume of

documents consistent with its May 27 search term proposal—capturing more than 520,000

deduplicated hits with attachments—by the end of August, while at the same time reviewing and

producing documents associated with nearly 125,000 deduplicated hits with attachments for the

Plaintiff States’ separate demands. DOJ raised no concern with Apple’s proposed timing (a pace

which Apple has maintained), but now feigns surprise that Apple would not be able to complete

review and production of DOJ’s demanded searches capturing an additional 1.85 million hits

with attachments by the end of September. Apple’s proposal that the parties negotiate in good

faith to reach compromises on the outstanding search strings so that it can substantially complete

its review and production in October is entirely reasonable.

         DOJ also incorrectly claims that the parties have reached impasse on codewords. Apple

responded to DOJ’s inquiry regarding a handful of irrelevant codewords nearly three weeks ago

and expressed its willingness to conduct further investigation of potentially relevant codewords.

For weeks, DOJ raised no issue with Apple’s response. DOJ’s tactics in now raising a dispute

without reasonably conferring with Apple is inappropriate and a waste of judicial resources.

                                        BACKGROUND

         On February 1, 2021, DOJ sent Apple a broad-ranging subpoena with 33 separate

requests, the vast majority of which include multiple subparts, covering nearly every aspect of

Apple’s business.1 Apple promptly sought to engage with DOJ regarding the scope of the

subpoena, agreeing to participate in weekly meet and confers in the hope of expeditiously

reaching agreement on an appropriately tailored scope for Apple’s response. Apple also



1
    See Ex. A, Subpoena to Produce Documents issued to Apple Inc. (Feb. 1, 2021).


                                                2
         Case 1:20-cv-03010-APM Document 177 Filed 08/17/21 Page 4 of 12




proactively reached out to the Plaintiff States in anticipation of their separate subpoena, which

Apple received on February 23,2 and encouraged coordination by the plaintiffs so that Apple

could efficiently collect documents for both subpoenas at the same time.3

         Throughout the course of the parties’ early discussions, Apple repeatedly asked DOJ to

explain the relevance of requests related to products and services beyond search engines, web

browsers, Siri, and Spotlight, such as Apple’s operating systems, news, and video and music

streaming services that have no clear relevance to the litigation. DOJ declined to engage with

Apple, either stating that it did not have authority to provide answers to Apple’s questions or

merely asserting, without explanation, that all of its requests were relevant. DOJ’s efforts to

secure documents clearly outside the scope of the complaint wasted nearly two months, and it

was not until mid-April that the parties finally agreed to limitations on the information DOJ

sought regarding the disputed relevant products and services.

         Despite DOJ’s refusal to meaningfully engage with Apple regarding the scope of the

subpoena for nearly two months, Apple nevertheless worked during that time to collect and make

rolling productions of responsive “go get” documents. Apple also progressed discussions

regarding custodians, and by late April, the parties agreed that Apple would search the files of 19

custodians for DOJ’s subpoena and 14 custodians for the Plaintiff States’ subpoena.

         Less than two weeks after reaching agreement on custodians, Apple provided DOJ and

the Plaintiff States with proposed search terms for their respective subpoenas, which included a

number of codenames for matters relevant to the subpoenas. For the DOJ subpoena, Apple



2
    See Ex. B, Subpoena to Produce Documents issued to Apple Inc. (Feb. 23, 2021).
3
  On March 12, 2021, Apple received a subpoena from Google seeking all documents requested
by DOJ and the Plaintiff States in their subpoenas.

                                                 3
        Case 1:20-cv-03010-APM Document 177 Filed 08/17/21 Page 5 of 12




proposed 41 search strings hitting on approximately 325,000 deduplicated documents with

attachments, in addition to the 21 search strings hitting on approximately 110,000 deduplicated

documents with attachments for the Plaintiff States’ subpoena. The Plaintiff States accepted

many of Apple’s proposed searches and the States and Apple reached agreement on all search

strings within two weeks of Apple’s initial proposal, with Apple agreeing to review search

strings that hit on nearly 125,000 deduplicated documents with attachments.

       In stark contrast, DOJ rejected every single search string and provided a counterproposal

on May 18 that hit on more than 3 million deduplicated documents with attachments. One week

later, DOJ demanded that Apple agree to negotiate search term hits up to a cap of 1.5 million

deduplicated documents with attachments, without attempting to justify the demand with any

connection to the relevance of the documents that would be captured. Apple refused, as DOJ had

provided no explanation for its arbitrary demand. Instead, on May 27, Apple provided a

substantive counterproposal capturing more than 520,000 deduplicated hits with attachments.

       In response, DOJ again largely rejected Apple’s proposal, agreeing to only a handful of

search strings and waiting until June 7 to provide a counterproposal for a half dozen others. DOJ

then waited another ten days to provide counterproposals for the remaining strings, which when

combined hit on more than 2.9 million documents and attachments. Meanwhile, Apple worked

diligently to review documents for agreed upon search strings and provided plaintiffs with

regular production updates and timelines for those strings. Apple made its initial custodial

production on June 17 and has continued to make bi-weekly custodial productions, as well as

rolling “go-get” document and data productions, producing more than 40,000 documents to date.

       Although DOJ largely rejected Apple’s May 27 proposal, on June 24, DOJ—citing the

urgency of discovery and a need to determine a production schedule—insisted that Apple



                                                4
         Case 1:20-cv-03010-APM Document 177 Filed 08/17/21 Page 6 of 12




provide a production timeline for the documents in that proposal. Apple responded that if the

parties reached immediate agreement on searches hitting on a comparable volume of documents

as Apple’s May 27 proposal, it anticipated that it could substantially complete its review and

production by the end of August.4 DOJ raised no concern with Apple’s proposed timing.

         In a claimed effort to help the parties reach agreement on the outstanding search strings,

on June 28 DOJ requested that, rather than immediately responding to DOJ with another

counterproposal, Apple conduct testing for DOJ of five alternative searches for each outstanding

search string to allow DOJ to tailor its proposal. Apple spent weeks repeatedly turning hit

reports for DOJ within two or three business days, which required an Apple employee to spend

approximately 15 hours testing search strings for DOJ. Nonetheless, in nearly every instance

DOJ ultimately has insisted that Apple use the search string yielding the largest number of hits—

which in many cases has simply been a reiteration of DOJ’s June 17 proposal.

         After receiving the last of DOJ’s search string proposals on July 27, Apple sought to

respond with counterproposals consistent with the process the parties had discussed. DOJ

initially expressed a willingness to receive counterproposals and requested that hit reports be

broken out to show hit differentials for modifications to substantive terms versus proximity

connectors. Apple agreed and informed DOJ it would begin rolling counterproposals for the

outstanding search strings by the end of the week. However, on July 30, only three days later,

DOJ backtracked and informed Apple it was no longer willing to consider any counterproposals.

Instead, DOJ demanded that Apple implement all of DOJ’s proposed search strings, while

proposing a 1.85 million document cap to account for the fact that the parties might reach some

accommodation for search strings capturing large volumes of irrelevant attachments.


4
    See Ex. C, Letter from K. Lent to C. Sommer (June 25, 2021).

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         Case 1:20-cv-03010-APM Document 177 Filed 08/17/21 Page 7 of 12




         Although DOJ has failed to adequately justify many of its proposed search strings, in a

showing of good faith and to ensure its review team had sufficient documents available for

review while the parties continued to negotiate, Apple agreed to accept an additional seven

search strings proposed by DOJ, leaving 12 search strings outstanding.5 Apple proposed that the

parties engage in three meet and confers concluding by Wednesday, August 18, to discuss the

outstanding search strings in detail, during which time Apple’s review team would be engaged

reviewing documents for agreed upon search strings.6 Apple informed DOJ that, if the parties

could reach reasonable compromises on the 12 outstanding search strings, Apple could be

substantially complete with its review and production by mid-October. DOJ rejected Apple’s

proposal to discuss the outstanding search strings without any explanation, declared the parties at

impasse, and raised the dispute with the Court.

                                          ARGUMENT

    I.   Apple Has Negotiated in Good Faith and Is Willing to Continue to Do So

         DOJ’s tactics in manufacturing an impasse on search string negotiations is improper.

Apple has substantive concerns regarding both the relevance and probative value of the search

proposals demanded by DOJ for the limited number of outstanding strings, which Apple believes

can be addressed through negotiations. DOJ has not explained why it views Apple’s August 9

proposed process to address these issues as unacceptable, refusing any further meet and confers

with Apple and unilaterally declaring the parties at impasse. Nor has DOJ proffered any



5
  Three of the outstanding search strings involve searches capturing a large number of non-
responsive attachments. Apple has since described the attachments to DOJ and, at DOJ’s
request, provided a random sample of the hits. Apple thus believes the parties should be able to
reach prompt resolution on these search strings, thus reducing the number of outstanding search
strings to 9.
6
    See Ex. D, Letter from K. Lent to C. Sommer (Aug. 9, 2021).

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        Case 1:20-cv-03010-APM Document 177 Filed 08/17/21 Page 8 of 12




explanation for why it is unwilling to consider any modification to its proposed searches, which

when combined are capturing an additional 1.85 million hits with attachments. DOJ’s demand

that Apple agree to DOJ’s searches appears to simply be in furtherance of its unreasonable and

arbitrary objective of having Apple review millions of documents, as evidenced by DOJ’s prior

demand that Apple agree in the abstract to a document cap of 1.5 million documents. Apple has

been, and remains, willing to negotiate with DOJ to promptly reach reasonable compromises on

search strings that are appropriately tailored to the requests and issues in the case.

       Apple has undertaken significant efforts as a third party to comply with DOJ’s

sweepingly broad subpoena. Apple has engaged in weekly meet and confers with DOJ since

February, while also exchanging multiple correspondence with DOJ most weeks. Since March,

Apple has made rolling productions of “go get” requests, including substantial amounts of data.

Compiling information responsive to DOJ’s go get requests has been a significant undertaking,

requiring interviews and coordination with more than 25 business people across multiple

business units to compile over a decade’s worth of information.

       Apple has undertaken similar efforts with respect to its custodial productions. With

respect to DOJ, Apple agreed to 19 custodians, including many of Apple’s most senior

executives. Apple sent DOJ a comprehensive search proposal hitting on more than 520,000

deduplicated documents with attachments and has made significant concessions during search

negotiations. Of the search strings agreed upon since Apple’s May 27 proposal, Apple has

repeatedly agreed to DOJ proposals that increased the documents hit on, half the time agreeing to

revisions that more than doubled what Apple proposed. Apple has agreed with plaintiffs on 54

of the proposed 66 strings (including the 21 strings that Apple and the States agreed to within

just two weeks). And during the course of the negotiations, Apple has made more than a dozen



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        Case 1:20-cv-03010-APM Document 177 Filed 08/17/21 Page 9 of 12




productions and continues reviewing documents (even during this dispute).

       Moreover, at DOJ’s demand, rather than immediately send a counterproposal to DOJ’s

June 17 search proposal, Apple engaged in burdensome testing of alternative search strings for

DOJ. Despite Apple’s commitment of resources to this process—including an Apple employee

rearranging his schedule and spending approximately 15 hours testing search strings for DOJ—

DOJ did not utilize the process in good faith. For nearly every set of search alternatives DOJ had

Apple test, DOJ insisted that Apple use the alternative yielding the largest number of hits—

which in many cases is simply a reiteration of DOJ’s June 17 proposal. In fact, DOJ has made

clear that certain of its recent search proposals were made solely because it views the hits for its

prior proposals as too low, without regard to the substantive appropriateness of the search.7

       After DOJ sent the last of its proposals for testing in late July, Apple expressed its

intention to provide counterproposals to address its concerns regarding the outstanding search

strings. Although DOJ initially expressed its willingness to consider such counterproposals,

three days later, DOJ changed course and indicated it would not consider any counterproposals.

       Any suggestion by DOJ that Apple’s failure to provide deconstructed hit reports or

responsiveness rates prevents it from considering any further revisions to the outstanding search

strings is not well founded. Creating deconstructed hit reports is extremely burdensome and

time-consuming, requiring Apple personnel to manually break down each multifaceted search

string into its individual components and separately run every variation captured by the search


7
  For example, for RFP 23(b), DOJ’s June 17 proposal captured 5,737 deduplicated hits with
attachments. DOJ proceeded to add more than a dozen terms solely because it believed the hit
count was too low, even though many of the additional terms—such as compet*, which was not
limited by any relevant product or service—are plainly overbroad and not reasonably tethered to
issues relevant to the case. DOJ also has stated it is not willing to negotiate proximity connectors
for searches, despite often doubling or tripling Apple’s proposed connectors with little or no
explanation.

                                                  8
          Case 1:20-cv-03010-APM Document 177 Filed 08/17/21 Page 10 of 12




string, resulting in manually running hundreds, if not thousands, of terms. Apple’s extensive

testing of alternative search strings for DOJ was intended to provide DOJ with the same type of

information it could obtain through deconstructed hit reports. And “responsiveness rates” for

already-agreed-upon and reviewed search strings are entirely irrelevant to whether search strings

still under negotiation are appropriately tailored, as many involve entirely different topics than

the outstanding search strings, including those covered by the Plaintiff States’ separate subpoena.

          Given Apple’s substantive concerns regarding the few outstanding search strings, Apple

maintains that the parties should promptly engage in live discussions to reach appropriate

compromises. Apple is prepared to provide counterproposals for the outstanding strings

immediately (it already provided 3 more than a week ago) and explain why its proposals are

reasonably tailored to yield relevant material and why DOJ’s requests are unnecessarily

burdensome. Apple would expect DOJ to be prepared to specify the basis for concerns, if any,

that significant relevant material would not be captured by Apple’s proposals. If the parties can

reach reasonable compromises on the outstanding strings, Apple is committed to substantially

complete its review and production in October.

    II.   DOJ’s Objections Regarding Codewords are Baseless

          DOJ’s conduct in raising a dispute relating to codewords is both procedurally improper

and substantively baseless. Apple addressed DOJ’s inquiries regarding a handful of irrelevant

codewords nearly three weeks ago.8 DOJ failed to respond or substantively engage for weeks,

belying its claim that it believes previously agreed upon search strings are now inadequate.

          DOJ originally requested that Apple identify every codeword it has ever used and explain

why codewords not included in the search strings are irrelevant. Perhaps recognizing that this


8
     See Ex. E, Letter from K. Lent to C. Sommer (July 29, 2021).

                                                  9
         Case 1:20-cv-03010-APM Document 177 Filed 08/17/21 Page 11 of 12




process is entirely backwards, DOJ now says it wants Apple to “provide a complete set of

relevant codewords.” As stated in its July 29 letter, this is precisely what Apple has done. Apple

undertook diligent efforts to identify codewords relevant to the subpoena, including engaging in

numerous conversations with Apple personnel, and included in its search proposal the relevant

codewords identified through that investigation.

         Late last week, DOJ indicated that it intended to “provide the Court a list of relevant

terms for which we want Apple to identify whatever codewords exist,” despite the fact that it had

not provided that list to Apple. Only upon Apple’s request did DOJ provide the list to Apple,

along with a demand that Apple respond to the 94 identified categories in less than one week.9 A

cursory review of the list demonstrates the vast overbreadth of DOJ’s demands, as the terms

encompass nearly all aspects of Apple’s business over the last 20 years. DOJ’s list also ignores

the parties’ prior discussions during which Apple informed DOJ that codewords for pre-launch

product names were excluded when they predate the relevant time periods and that Apple’s

hardware products generally are not relevant to the subpoena’s requests. To the extent DOJ has

reason to believe that additional codewords actually are relevant to its requests, Apple has been,

and remains, willing to consider them and conduct further investigation as needed. Thus far,

however, DOJ has pointed to nothing that would suggest that relevant codewords have been

omitted from the agreed upon searches.

                                          CONCLUSION

         For the foregoing reasons, Apple requests that the Court instruct DOJ to meet and confer

in good faith with Apple on the outstanding search strings.




9
    See Ex. F, US Plaintiffs Codeword Requests for Apple, Inc. (Aug. 12, 2021).

                                                  10
      Case 1:20-cv-03010-APM Document 177 Filed 08/17/21 Page 12 of 12




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                                     11
